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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                        Crim. No. 12-026(6)JRT/JSM

UNITED STATES OF AMERICA,              )
                                       )
                    Plaintiff,         )     ORDER FOR DETENTION
                                       )
      v.                               )
                                       )
6.   WILLIAM EARL MORRIS,              )
     a/k/a ODIE,                       )
                                       )
                                       )
                    Defendant.         )


      This matter came before the Court on February 3, 2012, for a

hearing on the Government’s Motion for Detention, pursuant to 18

U.S.C. § 3142(f).       In making that Motion, the Government invoked

the rebuttable presumption contained in 18 U.S.C. § 3142(e),1 as

the Indictment charges Defendant, and others, with Conspiracy to

Participate in Racketeering Activity, in violation of 18 U.S.C. §

1962(d),    which    pattern     of   racketeering   activity    consisted    of

multiple acts involving offenses chargeable under 21 U.S.C. §§

841(a)(1),    841(b)(1)(A),       &   846   (Count   One).    Similarly,     the

Indictment charges Defendant, and others, with Conspiracy to Use

and Carry Firearms During and in Relation to a Crime of Violence,

in violation of 18 U.S.C. §§ 924(o) & 924(c) (Count Two).


      1
        18 U.S.C. § 3142(e) provides that there is a rebuttable presumption that
“no condition or combination of conditions will reasonably assure” against flight
or danger where probable cause supports a finding that the person seeking bail
committed certain types of offenses, including an “offense for which a maximum
term of imprisonment of ten years or more is prescribed in the Controlled
Substances Act,” 18 U.S.C. § 3142(e)(3)(A), or “an offense under [18 U.S.C. §]
924(c),” 18 U.S.C. § 3142(e)(3)(B). “An indictment returned by a duly constituted
grand jury conclusively establishes the existence of probable cause for the
purpose of triggering the presumptions set forth in § 3142(e).” United States
v. English, 629 F.3d 311, 319 (2d Cir. 2011)(quotation omitted).
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     At the hearing, Defendant was present and represented by

Thomas Shiah, Esq. The Government was represented by Andrew Winter,

Assistant United States Attorney. Before the hearing, pre-trial

services   interviewed   Defendant       and   issued   a   report   detailing

Defendant’s   extensive     criminal       history.     That    report   also

recommended detention, finding that Defendant presented a risk of

non-appearance and a danger to the community.

     Defendant is currently in custody on state charges. Defendant

waived his right to a hearing and did not contest detention.

                           FINDINGS OF FACT

     1.    Defendant is charged by Indictment with Conspiracy to

Participate in Racketeering Activity, as well as Conspiracy to Use

and Carry Firearms During and in Relation to a Crime of Violence.

The Indictment details various predicate offenses supporting the

conspiracy charges, including numerous instances of crimes of

violence, including witness intimidation, and controlled substance

offenses. These charges carry a maximum penalty of life in prison.

     2.    Defendant has an extensive criminal history dating back

to 2004, including convictions for terroristic threats, burglary in

the third degree (on two occasions), and assault in the second

degree.

     3.    Defendant has no significant employment history.

     4.    Defendant has some community ties.

                          CONCLUSIONS OF LAW


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     1.      Based on the record before the Court, the Court concludes

that Defendant failed to rebut the presumption contained in 18

U.S.C. § 3142(e).       There are no conditions or combination of

conditions that will reasonably assure the Defendant’s appearance

at future proceedings and the safety of any other person and the

community.

     For the foregoing reasons,

     IT IS HEREBY ORDERED that:

     1.      Pursuant to Rule 5.1(e) of the Federal Rules of Criminal

Procedure, Defendant is required to appear for further proceedings;

     2.      Pursuant to 18 U.S.C. § 3142(e), the Government’s Motion

for Detention of Defendant without bond is GRANTED;

     3.      Defendant is committed to the custody of the United

States    Marshals   for   confinement   in   a   correctional   facility

separate, to the extent practicable, from persons awaiting or

serving sentences or being held in custody pending appeal;

     4.      Defendant shall be afforded reasonable opportunity to

consult privately with his lawyers; and




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     5.   Upon order of the Court or request by the United States

Attorney, the person in charge of the correctional facility in

which the defendant is confined shall deliver him to the United

States Marshal for the purpose of appearance in connection with all

court proceedings.



Dated: February 7, 2012
                                        S/Tony N. Leung___
                                        TONY N. LEUNG
                                        United States Magistrate Judge




                                    4
